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                  EXHIBIT D
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 MINHYE PARK,
                                                                               
                                    Plaintiff,                                  
                                                                              SET OF
                                                                              INTERROGATORIES
                        -against-
                                                                              Case No. 1:20-cv-02636
 DAVID DENNIS KIM, M.D.

                                    Defendants
 ---------------------------------------------------------------X

        Plaintiff, MINHYE PARK, by his attorneys, JSL LAW OFFICE, P.C., as and for his

Response to Defendant           DAVID DENNIS KIM, M.D., First Set of Interrogatories dated

November 19, 2020, alleges upon information and belief, as follows:

        1.             

                                           

                        -daero 397 neon-gil, Uichang-

                 gu, Hill State Artium City Apt 104-1605, Changwon-si, gyeongsangnam, South

                 Korea.

                          43-11 220th

                 Street, Flushing, NY11361.

                 d. Plaintiff is only a citizen of South Korea.

                 d. Social Security Number: None

                 e. Not applicable. Plaintiff has not been a party nor does not have any other

                 litigations.
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       2.      The occurrence of the said incident was caused solely and wholly by Defendants,

and/or each of them, their agents, servants, contractees, licensees, and/or employees, without any

negligence on the part of Plaintiff contributing thereto. Defendants negligently, recklessly,

carelessly, willfully and wantonly committed the following acts and omissions, amongst others:

       Failed to properly diagnosis; failed to proceed with the fetal surgery; failure to provide a

general and medically accepted standard of care upon the Plaintiff that resulted in a botched fetal

             b; failure to

properly inform the patient of the risks and procedures; failure to properly inform the patients of

condition; failure to obtain an informed consent; failure to inform the patient of any diagnose

made, treatment prescribed, and risks and alternatives to said course of treatment.

       3.      Objection. This interrogatory is vague, overly broad and unduly burdensome.

Without waiving the objection, none known to Plaintiff at this time other than those individuals

identified in the medical records.

       4.      See Response #2, supra.

       5.      Plaintiff has not designated any experts at this time. If and when any expert witness

is retained, expert disclosure will be provided.

       6.      To be answered after a reasonable amount of discovery is completed.

       7.           and his family have knowledge. Please see

medical records for the names of his physicians.       

name unknown at this time.

       8.      All of    and his family have knowledge. Please see

medical records for the names of his physicians.
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        9.            and his family have knowledge. Please see

medical records for the names of his physicians.

        10.      All communications were done in person.

        11.      To be answered after a reasonable amount of discovery is completed.

        12.      Plaintiff provided to Defendant on 11. 19, 2020.

        13.      See Attached.

        14.      Already provided all medica records from South Korea. However, defendant

       2018 and 2019 although Plaintiff requested

several times.

        15.      Plaintiff provided all information to Defendants.

        16.      See Response #15, supra.

        17.      Objection. This interrogatory seeks information that is not reasonably calculated

to lead to the discovery of relevant or admissible information. Without waiving said objection,

Plaintiff underwent said procedure about 13 years ago when she was about 20 years old.

Plaintiff does not recall information regarding that procedure.

        18.      Insurance information was previously provided to Defendants on November 19,

2020.

        19.      Not Applicable.

        20.      To be answered after a reasonable amount of discovery is completed.

        21.      To be answered after a reasonable amount of discovery is completed.



        Plaintiff reserves the right to supplement and amend his Responses up to and through the

time of trial.
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Dated: Uniondale, New York
       January 18, 2021 (Re-sent)
                                             Yours, etc.




                                             Jae S. Lee, Esq.
                                             JSL LAW OFFICE, P.C.
                                             Attorneys for Plaintiff
                                             626 RXR PLAZA
                                             Uniondale, NY 11556
                                             718) 461-8000
To:   Heidell, Pittoni, Murphy & Bach, LLP
      Attorneys for Defendant
      99 Park Avenue 7th Fl
      New York, New York 10016
      212-286-8585
      hnewman@hpmb.com
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                                   AFFIRMATION OF SERVICE


                                         Index No. 500626/2019



          I, Jae S. Lee, Esq., an attorney duly licensed to practice law in the Courts of the State of

   New York, alleges and affirms, under the penalty of perjury, the following

       On January 17, 2021, I served a true copy of the annexed  

      by first class mail and email due

to ongoing COVID-19 Pandemic.


To:   Heidell, Pittoni, Murphy & Bach, LLP
      Attorneys for Defendant
      99 Park Avenue 7th Fl
      New York, New York 10016
      212-286-8585
      hnewman@hpmb.com




                                                             ___________________________
                                                                Jae S. Lee, Esq.
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 MINHYE PARK,
                                                                    Case No. 1:20-cv-02636
                                    Plaintiff,
                                                                    INITIAL DISCLOSURES
                        -against-                                   PURSUANT TO RULE 26


 DAVID DENNIS KIM, M.D.

                                    Defendants
 ---------------------------------------------------------------X

        Plaintiff, MINHYE PARK, by his attorneys, JSL LAW OFFICE, P.C., hereby submits

the following disclosures in accordance with Fed. R. Civ. P. 26  



        1. Rule 26 (a) (1) (A)(i): The name and, if known, the address and telephone number of

each individual likely to have discoverable information, along with the subjects of that information

that the disclosing party may use to support her claims or defenses unless the use would be solely

for impeachment:



            MINHYE PARK: (To be contacted through Pla Counsel.)



        2. Rule 26 (a) (1) (A) (ii): A copy or a description by category and location of all

documents, electrically stored information, and tangible things that the disclosing party has in her

possession, custody, or control and may use to support her claims or defenses, unless the use would

be solely for impeachment.
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         Plaintiff already provided medical records and receipts from South Korea. However,

Plaintiff requested her medical records to Defendant Dr. Kim prior to commencing this action,

      . Nonetheless, Plaintiff anticipates that

medical records maintained by Defendant Dr. Kims office and Queens Surgical Care Center will

contain pertinent information.

         Plaintiff reserves the right to supplement     discovery

and investigation in the future.

        Plaintiff reserves the right to supplement and amend her Responses up to and through the

time of trial.


Dated: Uniondale, New York
       January 18, 2021
                                                      Yours, etc.




                                                      Jae S. Lee, Esq.
                                                      JSL LAW OFFICE, P.C.
                                                      Attorneys for Plaintiff
                                                      626 RXR PLAZA
                                                      Uniondale, NY 11556
                                                      718) 461-8000


To:   Heidell, Pittoni, Murphy & Bach, LLP
      Attorneys for Defendant
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      New York, New York 10016
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